
On February 19, 2014, the Defendant was sentenced for Charge I: Criminal Possession of Dangerous Drugs With Intent to Distribute, a felony, in violation of Section 45-9-103(b), MCA, committed to a state prison to be designated by the Montana Department of Corrections for a period of Twenty (20) years, with Five (5) years suspended, this sentence shall run consecutively to the sentence in Cause No. DC-13-122; for Charge HI: Use or Possession of Property Subject to Criminal Forfeiture, a felony, in violation of Section 45-9-206, MCA committed to a state prison to be designated by the Department of Corrections for a term of Ten (10) years, with Five (5) years suspended, this sentence will run concurrently with sentence in Charge I in this cause and consecutively to the sentence in Cause No. DC-13-122; for Charge IV: Criminal *73Possession of Drug Paraphernalia, a misdemeanor, in violation of Section 45-10-103, MCA committed to the Ravalli County Detention Center for a period of Six (6) months, this sentence will run concurrently with the sentences in Charges I and HI in this cause and consecutively to the sentence in Cause No. DC-13-122; for Charge V: Resisting Arrest, a misdemeanor, in violation of Section 45-7-301, MCA committed to the Ravalli County Detention Center for a period of Six (6) months, this sentence will run concurrently with the sentences in Charges 1, HI and IV in this cause and consecutively to the sentence in Cause No. DC-13-122; and for Charge VI: Driving Without a Valid Driver’s license, a misdemeanor, in violation of Section 61-5-102, MCA committed to the Ravalli County Detention Center for a period of Six (6) months, this sentence will run concurrently with the sentences in Charges I, HI, IV and V in this cause and consecutively to the sentence in Cause No. DC-13-122; and other terms and conditions given in the Judgment and Commitment on February 19, 2014. Charge II: Criminal Possession of Dangerous Drugs, a felony, in violation of Section 45-9-102(6), MCA was Dismissed. That the total commitment period for all three cases is Twenty-Seven (27) years with Five (5) years suspended. On March 19,2014, an Amended Judgment and Commitment was filed.
DATED this 28th day of May, 2014.
On May 8, 2014, the Defendant’s Application for review of that sentence was to be heard by the Sentence Review Division of the Montana Supreme Court (hereafter "the Division”).
The Defendant was present and was represented ProSe. The State was not represented.
Before hearing the Application, the Defendant stated that his counsel of record, Mathew Stevenson, had recently withdrawn his representation. The Defendant further stated that he was not prepared to represent himself at his sentence review hearing and has requested representation from the Montana Office of Public Defender. The Defendant made an oral motion to continue his sentence review hearing to August 2014 because of these circumstances.
It is the unanimous decision of the Division upon good cause shown, the sentence review hearing scheduled for May 8, 2014, is vacated. The sentence review hearing is continued to the next available date and time in August 2014.
Done in open Court this 8th day of May, 2014.
Chairperson, Hon. Brad Newman, Member Hon. Brenda Gilbert and Alternate Member Hon. John Warner.
